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UNITED sTATES DISTRICT COURT "“"“---D.c.
WESTERN DISTRICT OF TENNESSEE 05 JU~ _5
EASTERN DIVISION M 9’ 35
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WCLEH»\, U'S D'D,§@Ouo
PATRICIA PATTERSON, ' D~ OF TN' ch
Plaintiff,
v. Civil No. 05-1023 T

COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOWING ADDITIONAL TIME 'I`O FILE BRIEF

 

The defendant's motion for additional time to file brief is granted The defendant Shall file

WAW

Unite€/States District Court Judge

Date; G gm QHF/

their brief on May 31, 2005.

Thts document entered on the docket sheet in co liance
wah nme 58 and/or 79 (a) FRcP on _[¢7[__(£_1[£6:§_

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This notice confirms a copy ofthc document docketed as number 12 in
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Honorable J ames Todd
US DISTRICT COURT

